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 8
                          UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10
     JOANNE FARRELL, on behalf of                  Case No. 3:16-cv-00492-L-WVG
11   herself and all others similarly situated,
                                                    DECLARATION OF PAVEL
12                          Plaintiff,              HARUTYUNYANINSUPPORT
                                                    OF BANK OF AMERICA, N.A.'S
13         v.                                       MOTION TO DISMISS
14   BANK OF AMERICA, N.A.,                        Judge: Hon. M. Jam es Lorenz
15
                            Defendant.
16   11~~~~~~~~~~~~~~~~



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     I, Pavel Harutyunyan, declare as follows:
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            1.    I am employed as an Officer; Litigation Specialist II (Litigation
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     Specialist II) for Bank of America, N.A. ("BANA"). I have held this position since
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     October 1, 2012. I am authorized to make this declaration on behalf ofBANA in
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     support of its Motion to Dismiss in the above-captioned action. If called, I could
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     and would testify competently to the facts set forth in this Declaration.
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           2.     In my capacity as Litigation Specialist II, I have personal knowledge of
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     BANA' s procedures for creating and maintaining certain business records. This
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     includes records made and kept in the course ofBANA's regularly conducted
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     business activities.
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           3.     Attached hereto as Exhibit A is a true and correct copy of the Deposit
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     Agreement and Disclosures in effect for personal checking accounts and money
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     market accounts from February 6, 2015 through March 3, 2016.
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           4.    Attached hereto as Exhibit B is a true and correct copy of the Personal
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     Schedule of Fees in effect for personal checking and money market accounts from
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     August 7, 2015 through November 5, 2015.
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           5.    Attached hereto as Exhibit C is a true and correct copy of the Personal
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     Deposit Account Addendum in effect for money market accounts from August 7,
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     2015 through the present.
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10
           I declare under penalty of perjury that the foregoing is true and correct.
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     Executed on 2.   g   day of April, 2016.
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                                                     Pavel Harutyunyan
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